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06/13/2022 01:06 AM CDT




                                                        - 350 -
                               Nebraska Supreme Court Advance Sheets
                                        311 Nebraska Reports
                                    POPE v. DEPARTMENT OF MOTOR VEHICLES
                                                Cite as 311 Neb. 350



                                Colt M. Pope, appellant, v. Department
                                   of Motor Vehicles of the State
                                        of Nebraska, appellee.
                                                   ___ N.W.2d ___

                                         Filed April 15, 2022.    No. S-21-206.

                                           supplemental opinion
                  Appeal from the District Court for Clay County: Stephen
               R. Illingworth, Judge. Former opinion modified. Motion for
               rehearing overruled.

                  T. Charles James, of Langvardt, Valle &amp; James, P.C., L.L.O.,
               for appellant.

                 Douglas J. Peterson, Attorney General, and Milissa Johnson-
               Wiles for appellee.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.

                  Per Curiam.
                  This case is before us on a motion for rehearing filed by
               the appellant, Colt M. Pope, concerning our opinion in Pope
               v. Department of Motor Vehicles, 310 Neb. 971, 969 N.W.2d
               903 (2022).
                  We overrule the motion, but modify the opinion as follows:
                  In the analysis section, under the subheading “OTHER
               ASSIGNMENTS OF ERROR,” we modify the fourth para-
               graph to add as the final sentence the following: “We make
                           - 351 -
         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
           POPE v. DEPARTMENT OF MOTOR VEHICLES
                       Cite as 311 Neb. 350
no comment on any prohibitions or obligations under Neb. Rev.
Stat. § 84-914(6) (Reissue 2014), as Pope has not assigned as
error, nor has he argued he was prejudiced by, any purported
violation of that statute.”
   The remainder of the opinion shall remain unmodified.
                          Former opinion modified.
                          Motion for rehearing overruled.
